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                          BEFORE THE UNITED STATES
                 JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


                                                                      MDL No. 2741
IN RE: ROUNDUP PRODUCTS
LIABILITY LITIGATION



                                     PROOF OF SERVICE

         In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial
Panel on Multidistrict Litigation, I hereby certify that the foregoing Notice of Potential Tag-
Along Actions was electronically filed on October 28, 2021 with the Clerk of the JPML using
the CM/ECF system and was sent via electronic mail on October 28, 2021 to counsel for
Plaintiffs as follows:

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 Dated: October 28, 2021                             Respectfully submitted,


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